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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY
                             CAMDEN VICINAGE

   IN RE: VALSARTAN, LOSARTAN, AND
   IRBESARTAN PRODUCTS LIABILITY
   LITIGATION                                           Hon. Robert. B. Kugler



   This Document Relates To:                            Civ. No. 19-2875 (RBK/JS)

   All Actions                                           CERTIFICATION OF
                                                         SCHNEUR Z. KASS



      SCHNEUR Z. KASS, being of full age, certifies as follows:

        1.       I am a partner with the law firm of Rivero Mestre, LLP and serve as

  counsel for MSPRC. I make this certification based on personal knowledge and in

  support of MSPRC’s Brief on Discovery Issues as Ordered by the Court on

  October 6, 2022.

        2.       Attached as Exhibit A is a true and accurate copy of the declaration of

  Brandon Riff.

        3.       Attached as Exhibit B is a true and accurate copy of the declaration of

  Tiffanie Mrakovich.

        4.       Attached as Exhibit C is a true and accurate copy of the 2018 bid data

  dictionary, obtained from the Centers for Medicare and Medicaid Service’s website

  at: https://www.cms.gov/files/zip/bpt2018-data.zip.
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  Dated: October 20, 2022

                                                          By: /s/ Schneur Z. Kass
                                                              Schneur Z. Kass

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                                                          Miami, FL 33134
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                            CERTIFICATE OF SERVICE

        I hereby certify that on this 20th day of October 2022, a true and correct
  copy of the foregoing was filed and served on all counsel of record by the Court’s
  CM/ECF system.
                                                            /s/ Jorge A. Mestre
                                                            Jorge A. Mestre
